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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS


     UNITED STATES OF AMERICA,                      )
                                                    )
            Plaintiff,                              )
                                                    )
     v.                                             )       No. 07-CR-30178-14-WDS
                                                    )
     NATHANIEL LEWIS,                               )
                                                    )
            Defendant..                             )


                                   MEMORANDUM & ORDER

     STIEHL, District Judge:

            On August 29, 2008, the United States of America and defendant Nathaniel Lewis

     consented to appear before Magistrate Judge Donald G. Wilkerson pursuant to Federal Rule

     of Criminal Procedure 11 and SDIL Rule 72.1(b)(2). At that time, the defendant entered a

     plea of guilty to Count 1 of the Indictment.

            On September 2, 2008, Judge Wilkerson submitted a Report recommending that the

     undersigned District Judge accept the plea of guilty, that a Pre-sentence Investigation Report

     be prepared, and that the defendant be adjudicated guilty and have sentence imposed

     accordingly (Doc. 19).

            The Report was sent to the parties along with a “NOTICE” informing them of their

     right to appeal by way of filing “Objections” within ten days of service of the Report and

     Recommendation. Neither party has filed an objection, therefore, pursuant to 28 U.S.C. §

     636(b), this Court need not conduct de novo review. Thomas v. Arn, 474 U.S. 140, 149-52

     (1985); Video Views Inc. v. Studio 21, Ltd., 797 F.2d 538 (7th Cir. 1986).
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           Accordingly, the undersigned District Judge ADOPTS Magistrate Judge Wilkerson’s

     Report and Recommendation (Doc. 19), ACCEPTS defendant Nathaniel Lewis’ plea of

     guilty, and ADJUDGES defendant Nathaniel Lewis guilty.

     IT IS SO ORDERED.

     DATED: November 25, 2008

                                                   s/WILLIAM D. STIEHL
                                                     DISTRICT JUDGE




                                              2
